Case 1:16-cr-20549-RNS Document 1588 Entered on FLSD Docket 08/11/2021 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                      Case No. 16-CR-20549-SCOLA/OTAZO-REYES (s)(s)(s)

   UNITED STATES OF AMERICA

   vs.

   PHILIP ESFORMES,

                          Defendant.
                                               /

               UNITED STATES OF AMERICA’S OPPOSITION TO
    DEFENDANT’S MOTION TO CONTINUE THE AUGUST 13, 2021 BOND HEARING

          The United States hereby opposes Defendant’s motion to continue the bond hearing

   currently set for August 13, 2021. [D.E. 1585 & 1587]. On April 5, 2019, the Defendant was

   found guilty on 20 counts, including conspiracy to defraud the United States and money

   laundering, the payment and receipt of kickbacks, obstruction of justice, money laundering, and

   conspiracy to commit federal program bribery, for his role in a massive scheme to steal from the

   Medicare and Florida Medicaid programs. The fraud was brazen, and the Defendant’s actions

   were sophisticated, calculated, and repeated.

          On April 26, and again on May 4, 2021, in hearings before this Court, the United States

   announced its intention to proceed against the Defendant on the six counts on which the jury was

   unable to reach a verdict, and that are still pending before this Court. Thus, the Defendant’s current

   status is the same as any other defendant awaiting trial, and a bond hearing is required to determine

   whether any combination of conditions exist to ensure the Defendant’s presence at future

   proceedings in this case, and to prevent the Defendant from engaging in continuing attempts to

   obstruct justice. This Court continued the bond hearing set for May 4, 2021, until August 13, 2021

   [D.E. 1572], and this bond hearing should now take place. Defendant’s prior commutation of the

                                                     1
Case 1:16-cr-20549-RNS Document 1588 Entered on FLSD Docket 08/11/2021 Page 2 of 3




   sentence imposed by the court on his counts of conviction do not change his current status as a

   defendant awaiting trial, and whether or not his trial proceeds based on his arguments is a separate

   issue from his upcoming bond hearing. The Government does not object to briefing this issue once

   his appeal is exhausted before the Eleventh Circuit, but Defendant’s scheduled bond hearing

   should still take place on August 13, 2021. The Government notes that its position regarding

   Defendant’s arguments concerning the effect of the commutation order on his re-trial is that: (i)

   the Eleventh Circuit currently lacks jurisdiction to consider Defendant’s challenges to the hung

   counts, because they are not part of an appealable final judgment; and (ii) the commutation order

   was expressly limited to the counts of conviction, and does not extend to any of the hung counts.

           The Defendant is currently on supervised release, and is therefore subject to the standard

   conditions of supervised release in this District, with the added special conditions of a financial

   disclosure requirement, health care business restriction, no new debt restriction, and other

   conditions. [Judgement, D.E. 1459].

           The Government proposes the following bond conditions:

          A $5.5 Million Corporate Surety Bond;
          A $5 Million Personal Surety Bond with a Nebbia Requirement;
          Home Confinement with Electronic Monitoring paid for by the Defendant;
          No visiting any travel establishments or obtaining new travel documents; and
          Prohibitions against contact with any witnesses or former employees.

   These additional bond conditions proposed by the Government are necessary given Defendant’s

   pre-trial obstruction of justice in the past, and due to the fact that he was convicted of obstruction

   of justice at his previous trial.




                                                      2
Case 1:16-cr-20549-RNS Document 1588 Entered on FLSD Docket 08/11/2021 Page 3 of 3




                                          CONCLUSION

          Based on the foregoing, the Government opposes Defendant’s Motion to Continue the

   August 13, 2021, Bond Hearing, and asks that this hearing take place as scheduled.



   Dated: August 11, 2021                             Respectfully submitted,

                                                      JOSEPH S. BEEMSTERBOER
                                                      ACTING CHIEF
                                                      CRIMINAL DIVISION, FRAUD SECTION
                                                      U.S. DEPARTMENT OF JUSTICE

                                                      JUAN ANTONIO GONZALEZ
                                                      ACTING UNITED STATES ATTORNEY

                                               By:    /s/ James V. Hayes___________________
                                                      JAMES V. HAYES
                                                      Senior Litigation Counsel
                                                      ALLAN MEDINA
                                                      Deputy Chief
                                                      United States Department of Justice
                                                      Criminal Division, Fraud Section
                                                      1400 New York Avenue, N.W.
                                                      Washington, D.C. 20005
                                                      James.Hayes@usdoj.gov
                                                      Telephone: 202-774-4276




                                                  3
